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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                                                               )
                             Plaintiff                         )
                                v.                             )      Case No.
                                                               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                       .

          December 16, 2022
Date:
                                                                                          Attorney’s signature



                                                                                     Printed name and bar number




                                                                                                Address



                                                                                            E-mail address



                                                                                          Telephone number



                                                                                             FAX number
         Case 1:22-cv-11378-RGS Document 56 Filed 12/16/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE


       I hereby certify that, on this 16th day of December 2022, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants.



                                                   ___________________________

                                                   Michael Xun Liu
